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                                                 HYDE & SWIGART, APC
                                            1
                                                 Joshua B. Swigart, Esq. (225557)
                                            2    josh@westcoastlitigation.com
                                                 Yana A. Hart, Esq. (306499)
                                            3
                                                 yana@westcoastlitigation.com
                                            4    2221 Camino Del Rio South, Suite 101
                                                 San Diego, CA 92108-3551
                                            5
                                                 Telephone: (619) 233-7770
                                            6    Facsimile: (619) 297-1022
                                            7    Attorneys for Plaintiff,
                                            8    Ali Sadrarhami
                                            9                        UNITED STATES DISTRICT COURT
                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                           10
                                           11    ALI SADRARHAMI, Individually             Case No.:
                                                 and On Behalf of All Others
                                           12    Similarly Situated,
2221 C AMINO D EL R IO S OUTH S UITE 101




                                           13                 Plaintiff,
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                                                                                          COMPLAINT FOR DAMAGES AND
         S AN D IEGO , CA 92108




                                           14                                             INJUNCTIVE RELIEF PURSUANT
                                           15                          v.                 TO THE TELEPHONE CONSUMER
                                                                                          PROTECTION ACT, 47 U.S.C. § 227,
                                           16    NATIONAL DOCUMENT                        ET SEQ.
                                           17    PROCESSING, LLC D/B/A
                                                 NATIONAL STUDENT LOANS,                  [JURY TRIAL DEMANDED]
                                           18
                                           19                 Defendant.

                                           20
                                           21
                                                                                  INTRODUCTION
                                           22
                                                    1. Plaintiff ALI SADRARHAMI (“Plaintiff”) brings this Class Action
                                           23
                                                       Complaint for damages, injunctive relief, and any other available legal or
                                           24
                                                       equitable remedies, resulting from the illegal actions of NATIONAL
                                           25
                                                       DOCUMENT PROCESSING, LLC d/b/a NATIONAL STUDENT LOANS
                                           26
                                                       (hereinafter “Defendant”) in negligently or willfully contacting Plaintiff on
                                           27
                                                       Plaintiff’s cellular telephone, in violation of the Telephone Consumer
                                           28

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                                            1          Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading
                                            2          Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as
                                            3          to himself and his own acts and experiences, and, as to all other matters,
                                            4          upon information and belief, including investigation conducted by his
                                            5          attorneys.
                                            6       2. The TCPA was designed to prevent calls and text messages like the ones
                                            7          described within this complaint, and to protect the privacy of citizens like
                                            8          Plaintiff. “Voluminous consumer complaints about abuses of telephone
                                            9          technology – for example, computerized calls dispatched to private homes –
                                           10          prompted Congress to pass the TCPA.”
                                           11       3. In enacting the TCPA, Congress intended to give consumers a choice as to
                                           12          how creditors and telemarketers may call them, and made specific findings
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                                           13          that “[t]echnologies that might allow consumers to avoid receiving such
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                                           14          calls are not universally available, are costly, are unlikely to be enforced, or
                                           15          place an inordinate burden on the consumer.” TCPA, Pub.L. No. 102–243, §
                                           16          11. Toward this end, Congress found that:
                                           17                 [b]anning such automated or prerecorded telephone calls
                                                              to the home, except when the receiving party consents to
                                           18                 receiving the call or when such calls are necessary in an
                                                              emergency situation affecting the health and safety of the
                                           19                 consumer, is the only effective means of protecting
                                                              telephone consumers from this nuisance and privacy
                                           20                 invasion.
                                           21          Id. at § 12;
                                           22       4. Congress also specifically found that “the evidence presented to the
                                           23          Congress indicates that automated or prerecorded calls are a nuisance and an
                                           24          invasion of privacy, regardless of the type of call….” Id. at §§ 12-13.
                                           25       5. Further, the FCC has issued rulings and clarified that consumers are entitled
                                           26          to the same consent-based protections for text messages as they are for calls
                                           27          to wireless numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946,
                                           28          952 (9th Cir. 2009) (The FCC has determined that a text message falls

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                                            1          within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A));
                                            2          Toney v. Quality Res., Inc., 75 F. Supp. 3d 727, 734 (N.D. Ill. 2014)
                                            3          (Defendant bears the burden of showing that it obtained Plaintiff's prior
                                            4          express consent before sending her the text message).
                                            5
                                            6                                    JURISDICTION AND VENUE
                                            7       6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331
                                            8          because this case arises out of violation of federal law 47 U.S.C. §227(b).
                                            9       7. Venue is proper in the United States District Court for the Central District of
                                           10          California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                           11          Plaintiff resides in Orange County, State of California which is within this
                                           12          judicial district; (ii) the conduct complained of herein occurred within this
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                                           13          judicial district; and, (iii) many of the acts and transactions giving rise to this
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                                           14          action occurred in this district because Defendant:
                                           15                (a)    is authorized to conduct business in this district and has
                                           16                       intentionally availed itself of the laws and markets within this
                                           17                       district;
                                           18                (b)    does substantial business within this district;
                                           19                (c)    is subject to personal jurisdiction in this district because it has
                                           20                       availed itself of the laws and markets within this district; and,
                                           21                (d)    the harm to Plaintiff occurred within this district.
                                           22                                              PARTIES
                                           23       8. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
                                           24          the Orange County, State of California.          Plaintiff is, and at all times
                                           25          mentioned herein was, a “person” as defined by 47 U.S.C. § 153(39).
                                           26       9. Defendant is, and at all times mentioned herein was, a California limited
                                           27          liability company with a principal place of business in Irvine, California, and
                                           28          is a “person,” as defined by 47 U.S.C. § 153(39). Plaintiff alleges that at all

                                                 CLASS ACTION COMPLAINT                                                     PAGE 3 OF 12
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                                            1          times relevant herein Defendant conducted business in the State of
                                            2          California and in Orange County, and within this judicial district, placing
                                            3          unlawful calls to debtors via an automatic dialing system.
                                            4                                 FACTUAL ALLEGATIONS
                                            5       10. Plaintiff incorporates by reference all the above paragraphs of this
                                            6          Complaint as though fully stated herein.
                                            7       11. Defendant is a private company, not affiliated with the department of
                                            8          education or any academic or governmental entity.
                                            9       12. Defendant offers loan consolidation services and repayment programs.
                                           10       13. At no time did Plaintiff have any relationship with Defendant nor did
                                           11          Plaintiff solicit Defendant’s services.
                                           12       14. Plaintiff never requested Defendant to review his student loans, calculate
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                                           13          consolidated payments, nor did he request Defendant to provide him with
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                                           14          any repayment programs.
                                           15       15. In order to solicit consumers with Defendant’s lucrative offers and payment
                                           16          plan options, Defendant sends out an ambiguous marketing text message
                                           17          offering consumers to “discuss new options” of repayment.
                                           18       16. Despite never soliciting Defendant, on or about March 1, 2018, at
                                           19          approximately 12:52 pm, Plaintiff received an unwelcomed automated
                                           20          impersonal text message from phone number (833) 268-6896 on his cellular
                                           21          telephone number ending in “5114.”
                                           22       17. Text message read as follows, “This is our last reminder. Please call us to
                                           23          discuss new options for your college bills. Call NSL now @ 949-202-2405.”
                                           24       18. This vague soliciting text message is meant to deceive consumers into
                                           25          believing that they have dealings with Defendant or Defendant is currently
                                           26          servicing consumers’ student loans.
                                           27       19. However, when consumers call back to 949-202-2405, Defendant introduces
                                           28          itself and begins soliciting consumers to sign up with their company, asking

                                                 CLASS ACTION COMPLAINT                                                PAGE 4 OF 12
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                                            1          consumers questions such as “how much are you currently paying on your
                                            2          student loans” and attempting to explain why consumers should chose
                                            3          Defendant for loan consolidation/repayment programs.
                                            4       20. In fact, Plaintiff, shortly after receiving the unsolicited text message from
                                            5          Defendant called 949-202-6896 believing that Defendant were a new student
                                            6          loan servicing company and to inquire about Defendant’s vague soliciting
                                            7          text message.
                                            8       21. When Defendant’s representative, Tony Damouni, came on the line, he
                                            9          provided Plaintiff with Defendant’s information, and attempted to solicit
                                           10          Plaintiff’s business.
                                           11       22. Plaintiff thereafter disconnected the call, and at 1:55 pm on March 1, 2018,
                                           12          replied with a text message of “STOP” to opt out of receiving further
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                                           13          unwelcomed automated impersonal marketing text messages from
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                                           14          Defendant.
                                           15       23. Immediately following Plaintiff’s request to stop the unwelcomed
                                           16          solicitation messages, Plaintiff received yet another automated text message
                                           17          confirming receipt of Plaintiff’s request to opt-out, “NETWORK MSG: You
                                           18          replied with the word “stop” which blocks all texts sent from this number.
                                           19          Text back “unstop” to receive messages again.”
                                           20       24. Plaintiff did not text “unstop” or do anything else that would allow
                                           21          Defendant to believe that these messages were welcomed.
                                           22       25. In or about March 7, 2018 at 3:02 pm, Plaintiff received another identical
                                           23          solicitation text message from the same telephone number (844) 371-8394
                                           24          that read, “This is our last reminder. Please call us to discuss new options for
                                           25          your college bills. Call NSL now @ 949-202-2405.”
                                           26       26. In or about March 14, 2018 at 10:22 am, Plaintiff received another unwanted
                                           27          and unwelcomed solicitation text message from Defendant’s number (844)
                                           28

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                                            1          245-0792 that read, “Whether you graduated or not, we can give you much
                                            2          better repayment options. Call NSL now @ 949-201-4230.”
                                            3       27. The text messages were sent from Defendant’s numbers, appeared to be
                                            4          autodialed based on lack of any personal information and an impersonal
                                            5          nature of the soliciting content of the message.
                                            6       28. Further, since Plaintiff had no prior relationship with Defendant, and in fact
                                            7          since Defendant began to solicit Plaintiff when Plaintiff called Defendant, it
                                            8          shows that Defendant’s unsolicited marketing texts were autodialed.
                                            9       29. These telephonic communications constituted telephone solicitations, as
                                           10          defined by 47 U.S.C. § 227(a)(4).
                                           11       30. Defendant’s text messages constituted “calls” that was not for emergency
                                           12          purposes, as defined by 47 U.S.C. § 227(b)(1)(A)(i).
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                                           13       31. Defendant’s text messages were placed to a telephone number assigned to a
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                                           14          cellular telephone service for which Plaintiff incurs a charge for incoming
                                           15          calls pursuant to 47 U.S.C. § 227(b)(1).
                                           16       32. Defendant did not have prior express consent nor a written consent to send
                                           17          marketing text messages to Plaintiff’s cellular number, as defined by 47
                                           18          U.S.C. § 227(a)(4).
                                           19       33. Plaintiff believes that Defendant used an “automatic telephone dialing
                                           20          system” (or “ATDS”), as defined by 47 U.S.C. § 227(a)(1) to repeatedly
                                           21          send automated text messages and phone calls to Plaintiff’s cellular
                                           22          telephone number.
                                           23       34. This ATDS has the capacity to store or produce telephone numbers to be
                                           24          called, using a random or sequential number generator.
                                           25       35. These telephone communications by Defendant, or its agent, violated 47
                                           26          U.S.C. § 227(b)(1).
                                           27
                                           28

                                                 CLASS ACTION COMPLAINT                                                  PAGE 6 OF 12
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                                            1       36. Through this action, Plaintiff suffered an invasion of a legally protected
                                            2          interest in privacy, which is specifically addressed and protected by the
                                            3          TCPA.
                                            4       37. Plaintiff was personally affected because Plaintiff was frustrated and
                                            5          distressed that Defendant harassed Plaintiff with the unsolicited marketing
                                            6          text messages using an ATDS despite Plaintiff’s request to cease and desist
                                            7          Defendant’s unwanted communication.
                                            8       38. Defendant's autodialed telephone messages forced Plaintiff and similarly
                                            9          situated consumers to live without the utility of their cellular phones by
                                           10          forcing Plaintiff and class members to silence their cellular phones and/or
                                           11          block incoming numbers.
                                           12       39. Through the aforementioned conduct, Defendant has violated 47 U.S.C.
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                                           13          § 227 et seq.
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                                           14
                                           15                                CLASS ACTION ALLEGATIONS
                                           16       40. Plaintiff brings this action on behalf of himself and on behalf of all others
                                           17          similarly situated (“the Class”).
                                           18       41. Plaintiff represents, and is a member of the Class, consisting of:
                                           19                 All persons within the United States who received any
                                                              text messages from Defendant or their agent(s) and/or
                                           20
                                                              employee(s), not sent for emergency purposes, to said
                                           21                 person’s cellular telephone made through the use of any
                                                              automatic telephone dialing system within the four years
                                           22
                                                              prior to the filing of this Complaint.
                                           23       42. Defendant and its employees or agents are excluded from the Class.
                                           24          Plaintiff does not know the number of members in the Class, but believes the
                                           25          Class members number in the hundreds of thousands, if not more. Thus, this
                                           26          matter should be certified as a Class action to assist in the expeditious
                                           27          litigation of this matter.
                                           28

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                                            1       43. Plaintiff and members of the Class were harmed by the acts of Defendant in
                                            2          at least the following ways: Defendant, either directly or through its agents,
                                            3          illegally contacted Plaintiff and the Class members via their cellular
                                            4          telephones by using an ATDS, thereby causing Plaintiff and the Class
                                            5          members to incur certain cellular telephone charges or reduce cellular
                                            6          telephone time for which Plaintiff and the Class members previously paid,
                                            7          and invading the privacy of said Plaintiff and the Class members. Plaintiff
                                            8          and the Class members were damaged thereby.
                                            9       44. This suit seeks only damages and injunctive relief for recovery of economic
                                           10          injury on behalf of the Class, and it expressly is not intended to request any
                                           11          recovery for personal injury and claims related thereto. Plaintiff reserves the
                                           12          right to expand the Class definition to seek recovery on behalf of additional
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                                           13          persons as warranted as facts are learned in further investigation and
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                                           14          discovery.
                                           15       45. The joinder of the Class members is impractical and the disposition of their
                                           16          claims in the Class action will provide substantial benefits both to the parties
                                           17          and to the court. The Class can be identified through Defendant’s records or
                                           18          Defendant’s agents’ records.
                                           19       46. There is a well-defined community of interest in the questions of law and
                                           20          fact involved affecting the parties to be represented. The questions of law
                                           21          and fact to the Class predominate over questions which may affect
                                           22          individual Class members, including the following:
                                           23           a)   Whether, within the four years prior to the filing of this Complaint,
                                           24                Defendant or its agents initiated a telephonic text message to the Class
                                           25                (other than a message made for emergency purposes or made with the
                                           26                prior express consent of the called party) to a Class member using any
                                           27                automatic dialing to any telephone number assigned to a cellular
                                           28                phone service;

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                                            1           b)   Whether Defendant can meet its burden of showing it obtained prior
                                            2                express consent (i.e., consent that is clearly and unmistakably stated);
                                            3           c)   Whether Defendant’s conduct was knowing and/or willful;
                                            4           d)   Whether Plaintiff and the Class members were damaged thereby, and
                                            5                the extent of damages for such violation; and
                                            6           e)   Whether Defendant and its agents should be enjoined from engaging
                                            7                in such conduct in the future.
                                            8       47. As a person that received at least one telephonic communication from
                                            9          Defendant’s ATDS without prior written express consent, Plaintiff is
                                           10          asserting claims that are typical of the Class.       Plaintiff will fairly and
                                           11          adequately represent and protect the interests of the Class in that Plaintiff
                                           12          has no interests antagonistic to any member of the Class.
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                                           13       48. Plaintiff and the members of the Class have all suffered irreparable harm as
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                                           14          a result of Defendant’s unlawful and wrongful conduct. Absent a class
                                           15          action, the Class will continue to face the potential for irreparable harm. In
                                           16          addition, these violations of law will be allowed to proceed without remedy
                                           17          and Defendant will likely continue such illegal conduct. Because of the size
                                           18          of the individual Class members’ claims, few, if any, Class members could
                                           19          afford to seek legal redress for the wrongs complained of herein.
                                           20       49. Plaintiff has retained counsel experienced in handling class action claims
                                           21          and claims involving violations of the Telephone Consumer Protection Act.
                                           22       50. A class action is a superior method for the fair and efficient adjudication of
                                           23          this controversy. Class-wide damages are essential to induce Defendant to
                                           24          comply with federal and California law. The interest of Class members in
                                           25          individually controlling the prosecution of separate claims against Defendant
                                           26          is small because the maximum statutory damages in an individual action for
                                           27          violation of privacy are minimal. Management of these claims is likely to
                                           28

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                                            1        present significantly fewer difficulties than those presented in many class
                                            2        claims.
                                            3     51. Defendant has acted on grounds generally applicable to the Class, thereby
                                            4        making appropriate final injunctive relief and corresponding declaratory
                                            5        relief with respect to the Class as a whole.
                                            6                               FIRST CAUSE OF ACTION
                                            7                            NEGLIGENT VIOLATIONS OF THE
                                            8                      TELEPHONE CONSUMER PROTECTION ACT
                                            9                                47 U.S.C. § 227 ET SEQ.
                                           10     52. Plaintiff incorporates by reference all of the above paragraphs of this
                                           11        Complaint as though fully stated herein.
                                           12     53. The foregoing acts and omissions of Defendant constitutes numerous and
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                                           13        multiple negligent violations of the TCPA, including but not limited to each
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                                           14        and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                           15     54. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                                           16        Plaintiff and the Class members are entitled to an award of $500.00 in
                                           17        statutory damages, for each and every violation, pursuant to 47 U.S.C. §
                                           18        227(b)(3)(B).
                                           19     55. Plaintiff and the Class members are also entitled to and seek injunctive relief
                                           20        prohibiting such conduct in the future.
                                           21                              SECOND CAUSE OF ACTION
                                           22                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                                           23                      TELEPHONE CONSUMER PROTECTION ACT
                                           24                                47 U.S.C. § 227 ET SEQ.
                                           25     56. Plaintiff incorporates by reference all of the above paragraphs of this
                                           26        Complaint as though fully stated herein.
                                           27     57. The foregoing acts and omissions of Defendant constitutes numerous and
                                           28        multiple knowing and/or willful violations of the TCPA, including but not

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                                            1         limited to each and every one of the above-cited provisions of 47 U.S.C. §
                                            2         227 et seq.
                                            3      58. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.§
                                            4         227 et seq, Plaintiff and the Class members are entitled to an award of
                                            5         $500.00 in statutory damages, for each and every violation, pursuant to 47
                                            6         U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                            7      59. Plaintiff and the Class members are also entitled to and seek injunctive relief
                                            8         prohibiting such conduct in the future.
                                            9                                       PRAYER FOR RELIEF
                                           10         WHEREFORE, Plaintiff and the Class Members pray for judgment as
                                           11   follows:
                                           12         • Certifying The Class as requested herein;
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                                           13         • Appointing Plaintiff’s Counsel as Class Counsel in this matter;
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                                           14         • Providing such further relief as may be just and proper.
                                           15   In addition, Plaintiff and The Class Members pray for further judgment as
                                           16   follows:
                                           17                 FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                                           18                              THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                           19        • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                           20              Plaintiff seeks, for himself and each Class member an award of $500.00 in
                                           21              statutory damages, for each and every violation, pursuant to 47 U.S.C.§
                                           22              227(b)(3)(B).
                                           23        • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                           24              conduct in the future.
                                           25        • Any other relief the Court may deem just and proper.
                                           26
                                           27
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                                            1         SECOND CAUSE OF ACTION FOR KNOWING/WILLFUL VIOLATION OF
                                            2                         THE TCPA, 47 U.S.C. § 227 ET SEQ.

                                            3        • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                            4           § 227(b)(1), Plaintiff seeks for themselves $ in statutory damages, for
                                            5           each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                            6        • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                            7           conduct in the future.
                                            8        • Any other relief the Court may deem just and proper.
                                            9
                                           10                                    TRIAL BY JURY
                                           11     60. Pursuant to the seventh amendment to the Constitution of the United States
                                           12        of America, Plaintiff is entitled to, and demands, a trial by jury.
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                                           13
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                                           14   Dated: March 20, 2018                            Respectfully submitted,
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                                                                                                  HYDE & SWIGART, APC
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                                           17
                                                                                             By: s/Yana A Hart
                                           18                                                    YANA HART
                                                                                                YANA@WESTCOASTLIGATION.COM
                                           19
                                                                                                 ATTORNEYS FOR PLAINTIFF
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